     Case 1:98-cr-00019-MP-AK           Document 1444        Filed 08/17/05      Page 1 of 2


                                                                                           Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,
v.                                                             CASE NO. 1:98-cr-00019-MP-AK

RONALD ALLAN COHEN,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 1442, Report and Recommendation of Magistrate

Judge Kornblum, recommending that Defendant's Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255, Doc. 1421, be Denied as to Ground One of Defendant's

Motion only. In his report, Magistrate Judge Kornblum also recommended that the

Government's Motion to Dismiss, Doc. 1432, be Granted in part and Denied in part. The

Magistrate Judge filed the Report and Recommendation on Monday, July 18, 2005. The parties

have been furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections. Pursuant to Title 28, United States Code, Section 636(b)(1), this

Court must make a de novo review of those portions to which an objection has been made.

Neither party has filed an objection. Having considered the Report and Recommendation and

the lack of objections thereto timely filed, I have determined that the Report and

Recommendation should be ADOPTED.

       Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.      That the Magistrate Judge's Report and Recommendation is adopted and
               incorporated by reference in this order.
     Case 1:98-cr-00019-MP-AK           Document 1444        Filed 08/17/05     Page 2 of 2


                                                                                         Page 2 of 2


        2.       Defendant's Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28
                 U.S.C. § 2255, Doc. 1421, is DENIED AS TO GROUND ONE ONLY.

        3.       Government's Motion to Dismiss, Doc. 1432, is GRANTED IN PART AND
                 DENIED IN PART.

        4.       That this cause be REMANDED to Magistrate Judge Kornblum for further
                 proceedings as to Ground Two of Defendant's Motion to Vacate.

        DONE AND ORDERED this            17th day of August, 2005


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




Case No: 1:98-cr-00019-MP-AK
